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Exhibit D

The Kindest

Version Submitted to the Boston Book Festival
(“BBF”)

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The Kindest

By Sonya Larson

When I was dying, people were nicer to me. Nurses washed my hair. Old teachers and old
roommates and total randoms came to see me, kissing my bandaged hand. Bao brought me
underwear and slept beside me on a chair. Mom drove from Malden, Dad up from Quincy, and
Sui from Xian, all the way across the planet. The flowers! The questions! What hurts? How
much? 1 was scared and they wanted to hear all about it. No one said Why? or How come? or
How could you? No one rolled their eyes or said Well I’d better get going. They didn’t let me
smoke, but I saw them mull it over, as if to say Well it isn’t going to kill her. They leaned
forward. They were riveted. They were hungry and I was their food.

Getting born must be like that. If you could remember. But you can’t.

Then along came my Angel. A real one, too: no accident of her own, no sudden onset
anything. She wasn’t dead, and she wasn’t even doing a chain thing, aimed ultimately at saving
her husband or her sister or her very best bud.

It was just that she had two kidneys and she only needed one. And on top of that, grinned

the surgeon: we matched.

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We rushed to Boston Medical. That night a thin tube dripped cold dreams into my elbow.
Bao squeezed my fingers and kissed the cross around his neck. “It’s happening,” he said.

It’s happening? | tried to speak but my throat felt stuffed with rags. Beyond my eyelids
Bao stammered mutely, like a face in a flipbook. I counted backwards and drifted down a valley
of misty waterfalls.

A finger snapped. It was over. I woke to the sight of my husband crying into his hands,
overwhelmed like I’ve never seen him. “Bao?” said my voice.

“Baby!” He leapt from his chair and wedged his eager arms underneath me, and we were
laughing and the laughter felt strange traveling up my lungs, like a language I was remembering
only now. Even the ceiling looked new: large tiles sprayed freely with black dots of so many
shapes and sizes. I could see in them intricate patterns, like constellations in stars.

Bao looked up too, but his eyes were somewhere else. “How can we ever thank her?” he
said, so joyful he was enraged. “How? How?”

The people gathered around me. They shook the surgeon’s hand, clinked champagne over
my bed. It spilled on the sheet, it spilled on me.

Night came. The people left. They said Thank God this was behind us. They said It’s time
we got some rest. Bao pried my fingers off his arm as nurses wheeled me behind curtains, putting
a tube in my hand with a button for trouble. Lights went dark, fans slowed to a stop. A janitor
wheeled a bucket down a hall. And there was me: blinking fool, alone in my anger just like
they’ve always wanted. At 3:13 I started buzzing on the tube— listening for echoes, for shouts,
for footsteps come running. I buzzed and buzzed. I jammed it with my thumb. I wanted to know

didn’t anybody give a shit.

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I got better. They brought me home. I learned to angle my wheelchair, then stand, take a step.
Weeks went by—four long months—strength creeping into my neck, my arms, my back. Bao
whirred loose the screws of the handrails. Little dark holes remained in the walls, damp with
stray fibers, and when I touched them I remembered where the smooth cold metal had been. I
found our I ¥ Sullivan Square coffee mug, rolled behind the washing machine and miraculously
intact. Even my hands hardened with muscle: I was a superhero discovering her powers. On my
pelvis a new scar stretched in a cracked smile. I poked it when | sat on the toilet, the pain
underneath still tender. Who’s in there? I thought. Who are you?

Okay. So we no longer had a car. But Bao didn’t seem angry. Instead he was grateful,
dutiful, the person he used to be. He poured me my Froot Loops. He signed up for Hubway and
used those bikes. I was still sleeping on the rollaway, worried that somehow I’d now be bad at
sex. But Bao didn’t seem to mind. Instead he looked at me each day like I was worth something
immeasurable. After a while | started getting the hang of that too.

Little things amazed me. The smooth curves of the teakettle, dotted with moisture.

‘Tree needles, sprayed out and brushing the window in a breeze.

More and more the hospital seemed far away: its shiny boxes, relentlessly clean.

From the basement Bao brought up Grandmah’s zitan chair. He slid off the sheet, eased it
to the table, smoothed its legs with a damp silver cloth. I lowered myself onto the bony cushion,
thumbing the grooves of dragon tails that curled down the armrests. Suddenly the chair seemed
too big for me, too grand. But that was ridiculous—-when Grandmah was alive she would fart all
over this thing. I scooched my butt, got comfy. Bao folded up the wheelchair. To the curb went

the crutches, the walker, both canes. We could have recycled them or given them away, but we

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liked watching the garbage men hurl them into the truck, those grimy walls descending to slurp
them up for good.

Right about then is when the letter shows up.

Bao was at work. It was a sunny, ignorant day.

It came in the mailbox: real envelope and paper and gold sticker sealing the flap. It was
wrapped in a second letter from the surgeon himself, his boxy handwriting rushed with loops of
fervor. So awestruck was he by the selflessness that he just had to chaperone the missive himself.
[ looked at his letter. I thought that doctors couldn’t write at all, not even their own names.

Then came hers. She had used a notepad shaped like a daisy. Blue gel pen.

Dear Recipient,

My name is Rose Rothario. I'm a thirty-eight-year-old white female, and I live in
Greater Boston.

In 2016 I watched a documentary about altruistic kidney donation, and as the
credits rolled I felt wholly dismayed by the daily experiences of those in need. Equipped
with this new awareness, I set forth on a journey to offer a great gift, to do my part in

bettering a fellow human’s life.

I dropped open the letter. Six whole daisy pages. Stuff about her surgery, the prep, the PT. it

went on.

I’m grateful to the entire transplant team at MGH, who tightly held my hand from

my very first blood test to the date of our paired exchange. I myself know something of

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suffering, but from those experiences I’ve learned to build perseverance, to build courage.
And Ive also learned to appreciate the hardship that others are going through, no matter
how foreign. Whatever you’ve experienced, remember that you are never alone.

A few things about me: I like sailing, camping, jewelry, and cats.

As I prepared to make this donation, I drew strength from knowing that my
recipient would be getting a second chance at life. I channeled my energies into imagining

and celebrating YOU.

I stared at the YOU, underlined three times.

Now I smile at the thought that you are enjoying renewed health. You deserve all
that life has to offer, simply because you exist.
If you’re willing and able, I would love to know more about you. Perhaps we
could meet, But if you prefer not to, I accept that outcome as well.
Warmly,

Rose M. Rothario

There was a photograph. She was tall, slender, a bursting ponytail harnessed to one side. Scissors .
had cut away the image near her shoulder, as if to remove a person who’d been standing beside
her. I held it to my nose but it just smelled like a photograph: paper and faint glue, with no whiff
of a particular person. She was at some county fair. She was around my age. She was standing by
a Tilt-A-Whirl, surrounded by blurry feet, holding a rainbow-swirled lollipop in her fist.

So her name was Rose.

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I wanted a cigarette.

But I didn’t have one. Bao was at work. Sui was in Xian, obviously asleep. Mom out
cleaning and Dad at the shop, but they had never been any help at all.

I hobbled to the kitchen, opened the cupboard. A stupid move-—what did I expect? No
car and no booze. I looked for the mouthwash, the vanilla extract, that vial of Estée Lauder. But
Bao had done a full sweep.

I sat on the couch. | breathed in and out.

At some point Bao came home. I woke to see him scanning the letter sprayed across the
table, wearing red bike shorts circled with sweat. Bao in bike shorts! He looked like no one I
knew. Just a stranger pausing to examine a map. He read the whole thing standing up, helmet
still on. “Wow,” he said, blinking at the wall.

“I know,” I said.

“Where did she come from?”

“How should I know?” I said, sounding ugly. But Bao didn’t seem to hear; he was
glancing frantically around our house.

“We need to do something,” he said. “We need to show our thanks.”

“Of course,” I said, though that wasn’t what I’d been thinking at all. But all of this
gratitude: it shut me up.

There was some debate over who should make the call. “Can you do it?” [ said. “Can you
say I’m still recovering?”

Bao frowned and unclicked his helmet. He pulled at the Velcro straps on his gloves.

Okay: I could see that he didn’t want to. But when I was dying he’d stopped saying No, and the

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habit—for now-——was sticking. I saw indecision worming under his face. I let it. Finally he went
to the kitchen and beeped forcefully at the microwave.

We washed the dishes. We dried them. Then Bao called her up. He was nervous, chewing
rapidly on a wedge of Big Red that I could smell from the couch. I could see that he wanted a
drink. | hugged my knees, bending to suck the wet collar of my sweatshirt.

Bao’s voice twisted to a whole new register, leaping to each sentence like he was
competing for enthusiasm. “We would love, love, love to have you,” he said. I held still. Bao
never love, love, loved anything. “Her name is Chuntao. That’s Shun, tow-oo. No, no. it would
be an honor for us.”

Arrangements were made. She would come on Thursday.

Suddenly the whole house looked barbarically disarrayed—the faded curtains, outdated
carpet, objects that made no sense, revealing our vulgarities. That old panicky feeling. I imagined
her perched on this sagging couch, tanned legs too long to fold under the coffee table. It was too
late to change the cabinets, too late to paint the trims. This wasn’t a place where we chummed
out with guests, This wasn’t a place where people wanted to hang.

She would come at eleven a.m. “What do we get her?” said Bao, shaking his head. He
laughed in choked bursts. “Your other kidney? Your spleen?”

I wanted to be sick, to hide under the table. I said that I’d better get going~—there’s this
yoga thing at seven. “There is?” Bao smiled, startled, like someone slapped across the face.
“That’s great, baby. Good for you.” He hurried his gloves back on. “I'd better get a haircut. And
something we can cook.”

“Qkay,” I said, and stood as he left like I was about to put on my shoes.

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But I didn’t. Instead I dropped to the couch, scanned my phone. Did you take your
Xyletenol? Mom had written. U ok? said Sui. Where did u go? 1 ignored them all and played

Angry Birds. They weren’t writing to check in. They were writing to check.

260k a a ok

In the morning I went to the basement. Looked for something sentimental. On some boxes were
a wine decanter, a stereo system, scratched roller blades, a jar of batteries. A ceramic Christmas
tree that lit up, a velvet painting of John Wayne. An exercise ball with some wind chimes
slumped on top. I thought about the wind chimes. They were nice, I could dust them off. But ail
these things had to do with me, not my Angel. She needed something that meant something. Like
a pint of my own biood.

I figured out the bus. I went to Target. And oh my god: the white floor tiles: so shiny!
They reflected the fluorescents gleaming overhead, as if the whole place was lit from under my
feet. The shopping cart wheeled over each blip of tile—so smooth. Glossy loops of blond
samples down aisles of hair dye—delightful! I grabbed shampoo, a pack of Slims (oh, sweet
aroma through the plastic), and a can of white paint.

I thought about a card. | went to Thank You and Thank You For Her. Fanned through the
options of embossed sayings. “Life is measured not by the number of breaths we take, but by the
moments that take our breath away.” Um. Can you say no way? I stuffed them back and went to
Accessories. She said she liked jewelry, so.

I loaded up. Like I was tearing stuff off the spinning Y-shaped displays. Clinking
necklaces and heavy bangles and crystal rings and something called a toe clutch. A dozen

watches-~who wore watches? I had a field day. I filled my cart like they do in the movies when

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a shooter’s on the loose or the neighborhood’s on fire, grabbing for my Angel like I’d never do
for myself.

At Checkout the glittering pile moved down the conveyor belt. The girl beeped her gun
around the stash and said that'll be $193.80. Whoa now. Hold up.

She looked through my face. She wanted to know did I want to put something back. Um,
yeah, you think? So I came home with a pendant, the toe clutch, and two bracelets on clearance.
$34.17 total. But nobody would know.

“What in God’s name?” said Bao. He found me kneeling on newspaper in the foyer,
holding a paintbrush wet with harsh chemicals.

“Our trims,” I said. “They’re a wreck.”

Bao breathed through his nostrils. “Baby,” he said. “This isn’t taking it easy.”

“T know, I know.” I tried getting to my feet, but pain like a snapped trap unfolded with
my body. Bao grabbed my arm. I was dizzy and restless. I didn’t know what to do. I didn’t want

her here.

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“Can you move your stuff? said Bao. I wiped down the coffee table. I gathered the crap
on the staircase.

Lripped the tags off the jewelry and rummaged for a box. No box. Fetched a Gladware
and buried them in there with Kleenex, pretty-like. Found an old gift certificate to Olive Garden
and put that in too. Wrapped it up—technically Christmas paper, red with snowflakes, but pretty

ambiguous, and anyway it was November. No card. What was I supposed to say?

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Bao painted some crackers with cream cheese. I warmed potato skins. “We cooked!” he
said, marching the plate to the living room. 1 watched his excitement. I wanted a drink. Instead I
went to the fridge and checked on my apple juice. Slipped into my pocket two harmless Slims.

At 10:56 the doorbell went off. Bao almost dropped the plate in his rush to the door. I
stayed behind, neatening things, my fingers shaking rudely like they belonged to someone else.

Lheard her voice before I saw her. So much exclaiming, hugging, everything loud. They
came gliding toward me, Bao grinning anxiously and searching my face. She was even more
radiant than the photo. Slightly older-looking—crinkly eyes, thin hair—but emanating a glow
that no camera could capture without filters. Out came her arm and her long, elegant hand, the
delicate fingernails, tips creamy white.

“Baby?” said Bao. His eyebrows urged me on.

“Hil | said. “Hi hi hi. Come in, come in.” I guess 1 was staring. We shook. Her hands
were cold from outside. Mine were sweaty and I wiped them on my pants, though I worried
maybe that would look rude, like I didn’t want her germs. I watched her shoes, two sculptures of
soft green suede. She was too shiny to look at. It was like squinting at the sun.

“This,” she said, eyes probing my socks, my sweatshirt, the whole of me, “is incredible.”

“Right on,” I said. “Sorry. I feel super weird right now.”

The lips of Rose Rothario spread in a generous smile. “I can’t believe it either, Chuntao.
Am I saying it correctly?” I nodded that she was. She placed her hand on her chest. She gazed
around our house, at our weird stuff and the carpet slashed with lines from the vacuum cleaner.

Bao chatted with Rose Rothario, both nodding vigorously. The crescendo of a siren, of
trucks guzzling by: the voice of Rose Rothario rose above them all. It was like a singing melody,

exuberant and controlled. She stepped around our living room. Bao followed, explaining photos

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and stuff on the mantle, a breeze of high-pitched peaches trailing in her wake. | felt like a zoo
animal watching human onlookers make their way toward more interesting exhibits. Suddenly
my arms were too long, hair was sticking to my face. At least they were moving, killing time.

“Is this a family heirloom?” Rose Rothario lifted her glasses from her nose. She bent to
examine the carvings on the zitan chair.

“I guess so,” said Bao, hands folded like a docent. “It’s Chuntao’s.”

“It’s mine,” I said.

“Tt’s a stunning relic,” said Rose Rothario, roving her head along the back, the armrests,
the deflated cushion. A stunning relic? It was a chair. | imagined Grandmah hunched in the seat,
raising her furry eyebrows, wondering Who the hell?

Bao suggested that we sit around the coffee table. “We got some snacks,” he said.
“Nothing special.”

“Oh my goodness,” said Rose Rothario, admiring the Ritz crackers fanned around the
plate. I hated the sight of them: everything the same pale color. But Rose didn’t seem to care.
She sat, folding her skirt and holding her abdomen on the way down. I wondered if it hurt: the
hole inside of her. I wondered if she missed it. But I sort of didn’t want to know.

Rose pulled her phone from her purse.

“Pardon,” she said. “I just love this so much.” She aimed the phone at the crackers,
concentrating. Then—-satisfied— she put it away.

We faced each other, the triangle of us. Nobody ate. Finally I lifted a cracker and put it in
my mouth, which tasted like nothing, like water, just cold and crumbs and creamy stuff, mashing
around.

“You sure don’t look like you just had surgery,” Bao said to Rose Rothario.

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“Thank you,” she grinned. “Everyone’s been so supportive. So many cards and flowers.
And from people you'd never expect.” I went in for my apple juice. The eyes of Rose Rothario
snagged on my glass, following my hand as it floated from the table to my lips. “Is that wine?”
she said.

I stopped mid-sip. “No. It’s a Welch’s.”

“Oh!” she said, bursting into a nervous smile. “Ha ha ha.” She peered at Bao, then at me,
then the hands in her lap.

We were quiet, I drank my drink. And I tried to remember the things I’ve had to learn:
don’t react, don’t react. I tipped back into the cushions, the air fuzzy with shapes and colors. Bao
and Rose Rothario discussed the neighborhoods of Charlestown—which restaurants were nice
and which ones you should skip. They were talking holidays, or somebody’s pet, or the best
commute from this place to that. “But this neighborhood is also beautiful,” she said, ridiculously.
“Do you like to go for walks?”

“We’re definitely going to,” said Bao. “We’re going to get into that.”

“Not me,” I said, swirling my glass. “I’m still healing. So, yeah.”

Bao cleared his throat. Rose Rothario studied me tenderly. “Of course,” she said. “I found
that yoga and gentle stretching was all I could do at first.”

“I’ve been thinking about the yoga,” I said. “But I bet I'd be bad.”

“Maybe Rose could teach you,” said Bao.

The woman’s eyes perked up. “Truly?”

He nodded and tipped his drink in her direction. “You could go together. You could show

her the ropes.”

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“T could show you the ropes,” said Rose, turning my way. My face must have been doing
something, because then she said, “Or. We could not. Whatever you prefer.”

“What? What?” Bao gaped at me, hands up in surrender. “I thought you wanted someone
to go with!”

Rose waved everyone off the subject. “It’s really not important.” She smoothed her skirt.
“it’s okay, Bao.” And I didn’t like her saying my husband’s name.

“Excuse me,” said Bao, and stood up to make for the bathroom.

I followed him. Inched open the door and slipped myself inside. Bao was peeing into the
toilet, and when he saw me he had to hold himself in place. “Are you out of your mind?” he
hissed in a soft-loud voice.

I hissed back. “Yoga with her? Are you crazy? I would rather die.”

“That’s great,” said Bao, shaking and zipping his pants. “That’s just what I want to hear.”
He scrambled with his buckle and pushed passed me to the sink.

“And that photo?” I said. “She’ll like, show it to everyone...”

He twisted the faucets and splashed all over. “I happen to be thankful,” he said. “The
woman saved my wife. You—you scared the shit out of me. But then she comes along and helps
a person in need.”

“So I guess she’s a saint?” I said. “She’s the kindest bitch on the planet?”

“Can you just go be with her?” he said, hurrying a towel up his arms. “Can you just go be
a good person?”

“You go,” I said.

“No, you,” he said. And we stood there in the bathroom, panting and scared of the

woman in our house.

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We exited. In the living room Rose was sitting pin-straight on the couch, waiting just
liked we’d left her, like somebody’s dog.

Bao squared his eyes on her. “Before we let another moment pass, Rose, we just want to
say...we just want to express to you...” He glared at me, but I couldn’t say it. That angry puppy
face made me want to say nothing at all.

“Well!” said Bao, rocking on his heels. “I think I’ll leave you two alone now.”

Air leapt down my throat. “What? Where are you going?”

“You must have a lot to say to each other.” He jerked on his jacket.

Don’t, | pleaded silently. Don’t you dare. But he snapped up his helmet, rushing his feet
into shoes with the ankles smashed flat. Rose Rothario sat still, eyes roving between us. And I
felt through my heart the spear that would orphan me.

The click of the door left a loud and bristling silence. Like the world tipping over. I was

in my living room, I was standing on the carpet, a bus rumbling by like it was any old day.

ok

I hurried up and gave Rose her present. She practically squealed in delight, there were little tears
in her eyes. Okay. That was done. | sunk into the cushions. She lifted the pendant—long chain
with a copper sunburst—and eased it over her head. Wrapping paper remains were cracked open
on the coffee table. She hid the Gladware in her purse, saying she’d fully relish the rest later.
“It was fun to buy,” I said. “I had to figure out the bus, but that was actually totally fine.”
Rose Rothario frowned, leaning forward. “Forgive me, but I was told there was an
accident.”

“Yup,” I said.

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She bit her worried lip. “That must have been terrifying.”

“Vou bet,” I said, but the truth was that I couldn’t remember. I just remembered going for
my stash in the basement, the icy vodka in the Sullivan Square mug. Washing machine and stray
coins vibrating across. When had I decided to go downtown? How had I even gotten in the car?
It was the logic of a dream. “Trees!” I said, saluting with my glass. “They come out of nowhere.”

“There was a storm?” She followed along with goony eyes.

“Big time,” I lied. I described fierce winds, driving hail, windshield wipers that flapped
like my hands. I marveled at my voice, making this stuff up. It sounded correct. “The dash
slammed me all over. They even took out a rib—it was total smithereens.” I pointed at the torso
of Rose Rothario. “Hey, you got any extras in there?”

I chuckled. Rose Rothario let out a strained little laugh. Immediately I felt terrible and
wished that she would go. I thought about the cigarettes—Id told Bao I wouldn’t smoke in the
house. But he had left, so.

Rose Rothario squeezed the hem of her skirt. “Has your recovery been very difficult?”

I sipped my juice. “I’m not in recovery, if that’s what you’re asking.”

“What?” she blinked. “Oh. That’s not what I mean. I hope you know that’s not what I
mean.”

I could see that she was uncomfortable. So what? I leaned in for a cracker and put the
whole thing in my mouth. “I’m great,” I said. “I can walk up stairs, catch the bus.”

“I’m glad to hear it.” I chowed down and she watched. “I do find that yoga helps,” she
said. “But I still can’t quite sleep through the night.”

“Neither can I,” [ said, “I keep getting up to pee.”

“Are you finding it hard to tie your shoes? And just to bend over, generally?”

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“Yeah,” I said.

“Me too.”

“What a bitch,” I said.

Rose Rothario took a cracker and bit off an edge. She chewed in silence. More and more
it seemed hard for her to look at me. Her eyes drifted to the window, to the ceiling, to her free
hand in her lap. Finally she tured my way, her jaw working the cracker, but she looked right
through me, as if to some far-off mountain. Then I realized. She was watching my torso. She was
thinking about her kidney, buried inside of me. “Do take care of it,” she said quietly.

“You think that I wouldn’t?” I said.

“No, that’s not what I mean.” She turned away, waving off the thought. “It’s yours, of
course. Never mind. It’s yours now.”

“Well, sort of,” I said, feeling bad. “You gave it to me. It’s still sort of yours.” She
squirmed and knocked her knees together. “Hey,” I said. “Don’t you worry.” Her head lowered,
hair shielding her face. “So much is different now. I’m going to treat it so good. I’m going to
take good care.”

“I?m sure,” she said. “Of course.”

“Look,” I said, “I have to be honest with you.” I concentrated on the limp hand in her lap.
“I’m not really looking for connections right now. Like I’m not really looking to hang out. Don’t
get me wrong: I am totally grateful. Like one hundred percent. But I’ve got too many friends
already. I can barely keep up.”

“Oh, no no no no,” she said, “I’m not interested in friendship.”

“Like I don’t want to offend you, but.”

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“J just wanted to meet you,” she said. “I just thought it would be a meaningful
experience.”

“Tt is,” I said. “No doubt.”

I looked up. She was chewing and cupping her palm to catch the crumbs. My heart
pooled with relief. I’d said what I needed to. Now she could leave.

But she didn’t. She kept on munching her cracker like that. What was she waiting for?
What did she want? “Is there something that you want?” I said.

And that’s when the face of Rose Rothario blotched and crumpled. Her eyes squeezed up,
her hair fell forward. She was crying into her hand. The other hand pinched her bitten cracker,
keeping it aloft. “I’m sorry,” she said. “It’s all just so much.”

I didn’t know what was happening. What I thought was: What is this, this white woman,
crying on my couch? Crying to me. I felt bad for her, but 1 also wanted to slap her. Instead I
leaned forward and put my hand on Rose Rothario’s knee. It was warm, shivering, faceted with
bone.

Her mouth contorted with sobs, articulating nothing. But | knew what she was thinking.
She was thinking it was supposed to be different. “I hear you,” I said quietly. “When I was
dying, people were nicer.”

Rose Rothario swallowed. “What—what are you saying?” She was whimpering now,
fingers pressed into her eyes like she didn’t want to look.

I saw my hand and I saw her knee. But they weren’t as sharp as the thought in my head.
That when I was dying none of it mattered: what I’d done or what I was. People bared their love
and I thought I had my hands on it.

“} can’t explain,” I said. “Things were different. But now...”

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Rose Rothario uncovered her shiny, bloated face. Then her fingers fluttered down and
with no warning at all they rested themselves on my hand. I flinched. Her skin was cold,
hovering and weightless, but I still could feel the warmth of her, pinning me.

“Have you told people about me?” she said.

I was tense, dutiful, careful not to move. “Of course,” I said.

“And what do they say?” Her eyes were strained and glistening, as if from hunger.

What do they say? Just: cager things, stunned things. Like people who'd glimpsed
promised lands, or had been spared by magnificent storms. “All the things you’d expect,” I said.

Rose Rothario let out a strange, sloppy laugh.

“Come on,” I said. “People worship you. That’s pretty clear.”

She pinched the bridge of her nose, squinting as if from pain. Then the waterworks
started up again. “Never mind,” I said, sliding out my hand and rubbing my muscles. My wrist
bones sank and shifted, accompanying her sad song. I covered them. Didn’t look at her. Maybe
I’d just wait this one out.

But after a while Rose Rothario quieted. She reached around for the Gladware and
fetched some Kleenex, dabbed her eyes. “I’ll tell you what I would like. I would love to have a
photo with you.” She smiled weakly through her wet face. “That would mean a lot to me. To the
people in my life.”

I imagined my face immortalized next to Rose Rothario’s. I didn’t like this move. But if
that’s what it took to get her out, to get on. “If that floats your boat,” I said.

She rose. Balled the Kleenex in her fist and looked for the spot that she wanted. I

watched her circle the living room, thinking It’s okay. It'll only take a second. She traced her

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steps around the foyer, the mantle, the photos on the wall. But I knew what she was after. She
curled her hands on it. My chair.

I hesitated. “You're not going to post this somewhere, are you?”

“Do you want me to?”

“Never.”

“Then no,” she said, I stood, shuffled over. The black wood gleamed with white lines of
lighted grooves. “Do you want to sit in it?” she offered.

“Doesn't matter,” I said. But then I changed my mind. “Actually, yes. I want to sit in it.”
lowered myself onto the knotty cushion. I rested my elbows. Beside me Rose Rothario crouched
down, touching the armrest for balance.

“Careful,” I said.

“Wow-—how old is this?”

“Old,” I said. Rose Rothario knelt on the carpet. She smelled like peach shampoo. There
were squiggly grays in her hair and a bumpy mole behind her eat.

She fussed with her phone, stuck out her arm. I didn't know where to look until she
angled it toward me and I saw our faces looking back. The photo would be fuzzy, rough with
sediments of darkness, but I knew that she would treasure it always. Because the thing about the
dying is they command the deepest respect, respect like an underground river resonant with
primordial sounds, the kind of respect that people steal from one another.

“Ready?” she said. And we peered into her outstretched hand. I saw my grandmah's
chair. 1 saw the face of Rose Rothario. I saw that I was smiling, my eyes cast slightly sideways,

looking at something off the screen but I didn’t know what it was.

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